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24-961

To Be Argued By:
ALEXANDRA A.E. SHAPIRO

IN THE

United States Court of Appeals

FOR THE SECOND CIRCUIT

UNITED STATES OF AMERICA,
Appellee,
—vV.—

ZIXIAO GARY WANG, CAROLINE ELLISON, NISHAD SINGH, RYAN SALAME,

Defendants,
FTX TRADING LTD., WEST REALM SHIRES INC,
ALAMEDA RESEARCH LLC, ALAMEDA RESEARCH LTD.,

Intervenors,
SAMUEL BANKMAN-FRIED, AKA SEALED DEFENDANT 1,

Defendant-Appellant.

ON APPEAL FROM THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK

REPLY BRIEF FOR DEFENDANT-APPELLANT

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INTRODUCTION

The government desperately clings to this conviction because this is a high-
profile case. But that is exactly why it is so important for the Court to uphold the
law and the right to a fair trial. As Justice Holmes wrote: “Great cases, like hard
cases, make bad law. For great cases are called great, not by reason of their real
importance...but because of some accident of immediate overwhelming interest
which appeals to the feelings and distorts the judgment.” Northern Securities Co.
v. United States, 193 U.S. 197, 364 (1904) (dissenting).

Sam Bankman-Fried’s conviction was a foregone conclusion before the jury
even began deliberating, because he was deprived of fundamental rights necessary
for fair trials—the rights to a defense and to jury fact-finding. The district court
prevented him from showing the jury that the government’s story about customers
and lenders permanently losing their money was false. It prevented him from
telling the jury lawyers were involved in practices the prosecutors said were
fraudulent. It prevented him from obtaining exculpatory evidence prosecutors
deliberately avoided obtaining from the Debtors and their conflicted counsel.

At every turn, the judge put his thumb on the scale. The result was a one-
sided trial, where the district court allowed the government to present damning
false information, concealed contrary information from the jury, erroneously

instructed the jury about the law, and effectively directed a guilty verdict. These
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rulings are legally indefensible, and their cumulative effect was a deeply unfair
process rigged from inception. The prejudice was palpable, and severe.

Lacking any convincing response to this extreme unfairness, the
government’s strategy is to divide-and-conquer, rewrite history, and make
unfounded arguments about preservation. Unable to refute the prejudice, the
government tries to pick the rulings apart, addresses them out of order, invents new
rationales for them, and ignores facts and arguments that don’t conform to its
revisionist history. But these tactics cannot conceal the truth about the proceedings
below, which leaps off the page to any fair-minded reader of the record.

The truth is Bankman-Fried was not allowed to present relevant, admissible
evidence to support his defense. The truth is the government’s tale about
permanent loss was false—as Amici explain, the Debtors’ bankruptcy filings
“support Bankman-Fried’s view that the Debtors may never have been insolvent.”
The truth is Bankman-Fried didn’t secretly create the company practices at issue—
lawyers were involved and suggested some of them. The truth is the scienter
instructions defy controlling precedent and erroneously lowered the government’s
burden of proof. The truth is the Debtors enmeshed themselves in the investigation
and prosecution in ways far beyond “normal” cooperation—shielding prosecutors

from Brady material they would have been obligated to disclose to Bankman-
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Fried. The truth is the $11 billion forfeiture order for assets Bankman-Fried had
already turned over was legally unauthorized and unconstitutional.

The conviction should be reversed.

I. THE ASYMMETRICAL EVIDENTIARY RULINGS ON LOSS
DEPRIVED BANKMAN-FRIED OF A FAIR TRIAL

As the bankruptcy professors note, at trial the prosecution “frequently
asserted that [FTX and Alameda] were insolvent” and that “customers would
recover nothing.” BAB16-17. That was false. The Debtors’ projections “show a
surplus” of billions, and an “unheard-of” ability to pay interest on unsecured
claims. BAB17-18. The Debtors announced their plans to pay creditors 118% of
funds owed only after trial and sentencing.! And as discussed below, the recovery
could have been larger but for decisions the Debtors themselves made. Yet the
district court allowed the government to present a false story that customers and
creditors lost everything and prevented the defense from responding.

Unable to defend those unfair, asymmetrical rulings, the government invents
an alternate reality, in which it never told the jury FTX customers and creditors lost
money, and the defense never objected to anything. That is not what happened.
The government presented evidence and argued—over and over—that Bankman-

Fried stole customer funds and frittered them away on lavish real estate and

' “Crypto Exchange FTX Is The Rare Financial Blowup That Will Repay Victims
In Full,” Wall Street Journal (May 8, 2024).

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speculative, failed investments. Bankman-Fried repeatedly tried to respond, but
the judge rebuffed him at every turn.

A. The Government’s Legal Arguments About Loss And Fraud Are
Wrong

The government’s defense of the evidentiary rulings rests in part on a flawed
premise. According to the government, “where a defendant fraudulently obtains
the use of another’s money or property for a period of time,” no matter how short,
the defendant has committed fraud. GB24. The government relies principally on
United States v. Males, 459 F.3d 154, 158-59 (2d Cir. 2006) and United States v.
Calderon, 944 F.3d 72, 90 (2d Cir. 2019).

There are three problems with the argument.

First, those cases rely on the now-repudiated right-to-control doctrine. If
construed as the government suggests, those holdings do not survive Ciminelli v.
United States, 598 U.S. 306 (2023). Calderon, for example, relied heavily on this
Court’s prior right-to-control cases including United States v. Finazzo, 850 F.3d 94
(2d Cir. 2017), and United States v. Binday, 804 F.3d 558 (2d Cir. 2015). See 944
F.3d at 88-89. Ciminelli squarely overruled those cases. See 598 U.S. at 313.
Temporary deprivation of use is equivalent to deprivation of right to control.

Second, even if still good law, Males and Calderon cannot be applied to this
case—where customers put assets into FTX as collateral and allowed FTX to use

them as collateral. By its nature, on a margin platform with rehypothecated assets

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the custodian is permitted to use or lend customer deposits to other users or for
investments. FTX was not like a storage locker, where a customer deposits a boat
and can retrieve the same boat at any time. FTX was like a bank, where customers
deposit dollars, and those dollars are then commingled with other customers’ funds
and loaned out to others on a fractional-reserve basis. Mere temporary use
therefore cannot itself prove the requisite contemplated harm to property—use is
inherent in the business model, and customers gave FTX permission to lend out
funds when they opted into margin trading.

Third, and most importantly, the government’s theory was not limited to
temporary use. As explained below, the government told the jury Bankman-Fried
stole money and that customers and creditors suffered permanent loss. Even if the
government could have proceeded on some different theory, that is not what the
government did. Its theory was outright theft and permanent loss. And this Court,
in reviewing Bankman-Fried’s appellate claims, must examine that theory and the
evidence used to support it. “Appellate courts are not permitted to affirm
convictions on any theory they please simply because the facts necessary to
support the theory were presented to the jury.” McCormick v. United States, 500
U.S. 257, 270-71, n.8 (1991). With respect to loss, Bankman-Fried’s evidentiary
claim is simple: Because the government presented evidence of, and argued, theft

and permanent loss, he was entitled to respond.
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B. The Government Presented A Case Of Theft And Permanent Loss

The government claims its case was limited to temporary loss and
misappropriation until “FTX declared bankruptcy” (November 2022) and that its
evidence was therefore “legally relevant.””’ GB40-41. By contrast, it says,
Bankman-Fried’s proffered evidence “post-date[d] the relevant events, and
therefore lack[ed] relevance.” GB41.

That 1s false on both counts.

1. Government’s Case

The government repeatedly presented evidence about ongoing and
permanent losses after November 2022. It did not merely ask whether customer
witnesses could withdraw their money in November. It asked: “And as we sit here
today, have you ever been able to withdraw your FTX customer deposits that we
see?” A-686 (emphasis added); accord A823-25. The government similarly
elicited testimony from creditors that their loans “still [had] not been paid.” A-
816. The government presented this evidence because the district court had
specifically ruled—over the defense’s pretrial objection—that it could present
evidence of permanent loss to “explain to the jury its views of what allegedly
happened.” SPA-59-60.

Nor were the government’s jury arguments limited to events before

November. The government argued that Bankman-Fried had “walked out the door
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with [customer money] and spent it as he pleased.” A-674. It said the funds were
“missing” and “gone” because FTX and Alameda were “deeply in the red” due to
Bankman-Fried’s stealing or squandering customer money. A-1077-79, A-1091.
Customers, creditors, and investors “lost all their money.” A-1096. “Thousands of
people lost billions of dollars. Everyday people lost savings, companies went
bankrupt, all because of this defendant’s fraud.” A-1105. The government’s case
was not one of temporary misuse.

The government knew exactly what it was doing. Temporary
misappropriation is not very sexy. The government could have argued: “Ladies
and gentlemen, although everyone will probably be made whole in the end, they
had to wait and that’s enough for fraud.” But that would not have tugged
heartstrings or sparked outrage. As the Supreme Court has emphasized, evidence
is relevant “not just to prove a fact but to establish its human significance, and so
to implicate the law’s moral underpinnings and a juror’s obligation to sit in
judgment.” Old Chief v. United States, 519 U.S. 172, 187-88 (1997). The
government knew theft and permanent loss would make the jury feel the moral
weight of the conduct and more likely to sit in judgment. So that is what it

presented to the jury.
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2. Defense’s Precluded Response

Nor was Bankman-Fried’s proffered evidence limited to matters “post-
dat[ing] the relevant events.” GB41. Bankman-Fried sought to show FTX and
Alameda were never insolvent—before, at the time of, or after the bankruptcy
petition. Rather, his theory was that FTX and Alameda faced a temporary liquidity
crisis due to adverse market conditions and the resulting bank-run, but they could
have liquidated valuable assets to pay customers and creditors back. (That is in
fact what eventually happened.) This was relevant to rebut the government’s
claims about permanent loss and intent to defraud.

Consider Anthropic. Bankman-Fried invested early in Anthropic—
purchasing a substantial share for approximately $500 million. The company is
now worth $60 billion, earning a return multiples over. His investment was
brilliant.

Evidence regarding Anthropic was relevant for many purposes. It was
relevant to rebut the government’s argument that everyone “lost all their money” —
they did not, in part because the Anthropic investment was eventually liquidated,
with proceeds returned to customers and creditors. It was relevant to rebut the
argument that Bankman-Fried’s investments were “risky” and “losing money,” A-
678—they were not. Nor was Anthropic Bankman-Fried’s only home-run

investment—for example, Solana, Aptos Labs, and Mysten Labs were all valuable
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assets eventually sold to repay customers. And yet all such evidence was
precluded, because the district court ruled—but only as to the defense evidence—
that it “doesn’t matter’ what happened to customer funds in the end. A-805.

The relevance of such evidence was not, as the government claims, limited
to events post-dating bankruptcy. The Anthropic investment is worth more now
than it was then, but it was worth a /ot then—so it was relevant to rebut the
government’s claim that FTX and Alameda were deeply insolvent at that time. It
is true that because Anthropic was a private company, there “may not have been a
market” to immediately realize its value. GB37 n.9.7 But that simply proves
Bankman-Fried’s point: During the fall of 2022 and the bankruptcy petition, FTX
and Alameda faced a liquidity crisis, not a solvency crisis.

Perhaps most fundamentally, the evidence was relevant to rebut the
government’s theory that Bankman-Fried “knew” all along Alameda was insolvent
and “did not have the assets to cover” funds owed to FTX customers. A-1110. In
fact, Bankman-Fried not only believed but knew Alameda had valuable assets that
could, with sufficient time, be liquidated to repay customers and lenders. The
government told the jury Bankman-Fried was lying, but it turns out he was right all

along.

* That doesn’t make any valuation “misleading and confusing” to the jury. GB37
n.9. People routinely value private companies when considering investment or
loan transactions with such companies.
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3. The End Result

The government maintains customers might not truly be “made whole,”
GB41 n.11, citing nothing other than its own sentencing submission. The Debtors’
filings tell a different story. See, e.g., BAB16-19.

Moreover, if customers and creditors could have received more money or
received it sooner, the fault lies with the Debtors, not Bankman-Fried. The
Debtors took control of FTX, Alameda, and all assets once the bankruptcy was
filed. It was the Debtors, not Bankman-Fried, who controlled the repayment
schedule and form. It was the Debtors, not Bankman-Fried, who decided to shutter
the still-profitable exchange. It was the Debtors, not Bankman-Fried, who decided
to sell assets at bargain-basement prices—some of which have since appreciated
dramatically. And it was the Debtors, not Bankman-Fried, who racked up
hundreds of millions in legal fees.

But the larger point is all such nuance was missing from trial. Whether
anyone was “made whole” may be a debatable definitional question. But the
government told the jury, over and over, that everyone lost all their money, period.
That wasn’t nuanced or complicated—it was just false.

C. ‘The District Court’s Rulings Violated The Law

In another attempt to rewrite history, the government pretends the district

court consistently limited this case to events through November 2022 and

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prevented both parties from presenting evidence of subsequent events. That is not
what happened. The district court only excluded defense evidence of subsequent
events.

When analyzing defense evidence, the court ruled the crime complete at the
moment of misappropriation and all subsequent events irrelevant. “That’s it,” the
court said, “it’s finished, the minute the misappropriation happens.” A-806.

“TW hat he did with [the money] afterward doesn’t matter.” A-805. But when it
came to the government’s proof, the district court changed its tune—evidence
about subsequent events, including the bankruptcy, was now “intertwined
inextricably” with the charged crimes, and permitted to “complete the story.”
SPA-59-60.

The government makes no serious effort to defend these asymmetrical
rulings under the Rules of Evidence. Its sole argument conflates the substantive
law with evidentiary relevance. The government argues that because absence of
loss is “not a defense,” evidence regarding loss is irrelevant. GB40 & n.10. Even
if the government’s (false) premise were true, the conclusion would not follow.
Just as actual loss—had it occurred—would have some “tendency” to make intent
to defraud more likely, Fed. R. Evid. 401, absence of loss tends to make lack of

intent more likely.

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Regardless, it is disingenuous for the government to argue now that evidence
of loss “doesn’t matter,” because the government itself presented evidence of loss.
If it didn’t matter what Bankman-Fried did with the money, why did the
government present evidence that he bought expensive real estate in the Bahamas?
If customers’ ultimate loss was irrelevant, why did the government elicit testimony
that customers and lenders never recovered their money?

Facts like these can be relevant because they shed inferential light on a
defendant’s intent, “complete the story,” and demonstrate the moral weight of the
alleged conduct, triggering “a juror’s obligation to sit in judgment.” Old Chief,
519 U.S. at 188. The problem in this case was that only one party was allowed to
complete its story.

D. The Argument Was Preserved

The government’s preservation arguments, GB38-39, are based on a few
quotes plucked out of context and ignore the district court’s prior rulings.

As explained, OB23-26, the issues first arose with Bankman-Fried’s motion
to dismiss—which the government ignores. In denying that motion, the court ruled
loss and intent to repay “immaterial as a matter of law” because the government
was proceeding on a temporary misappropriation theory. SPA-28. The defense
disagreed, but was obligated to “adhere to” that ruling as law of the case as it

proceeded to trial. United States v. Carr, 557 F.3d 93, 102 (2d Cir. 2009).

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Based on that ruling, the government then moved to exclude all defense
evidence regarding loss and repayment. Dkt.204 at 49-51. The defense responded
by arguing that—under the court’s prior order—neither party should be allowed to
present evidence of later solvency or insolvency, subsequent repayment or lack
thereof. Dkt.207 at 8, 11-14.

But the whole thing was a bait-and-switch. After solemnly declaring it was
proceeding only on a misappropriation theory, and that loss and repayment were
therefore irrelevant, the government reversed course, announcing it would present
evidence that everyone lost everything, that FTX was fundamentally insolvent, that
no one would be repaid, and that Bankman-Fried knew they wouldn’t be repaid.
Dkt.245 at 1.

In response, Bankman-Fried was clear his “defense is not that he intended to
steal funds and give them back.” Dkt.246 at 28. He never “expressly disclaimed”
any defense about lack of loss or solvency. GB38. The operative word is
“steal”—a core pillar of Bankman-Fried’s defense was that customer money was
never “stolen,” because on a margin lending platform, FTX was a//owed to lend
deposits just as a bank lends deposits. Moreover, at that point, the defense merely
stated it was not intending to present a repayment defense because the district

court had already ruled it could not.

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The defense immediately made clear, however, that “should the Government
introduce evidence relating to the bankruptcy, the defense should be permitted to
rebut the prejudicial inferences such evidence would occasion.” Dkt.246 at 29 n.7.
When the district court thereafter issued its asymmetrical rulings, the defense
reiterated its objection that the government could not have it both ways. A-579-80,
A-588-89. The government ignores these objections as well.

E. The Error Was Not Harmless

The prejudice from the district court’s unfair asymmetrical rulings 1s
manifest. The government told the jury everyone lost everything. That was false,
as the government now tacitly concedes. The jury did not hear the truth, because
the defense was prevented from responding. And the tale of permanent loss
undoubtedly weighed on the jury’s mind.

The government notes that Bankman-Fried was allowed to testify in general
that he acted in good faith and believed Alameda had sufficient assets. GB43-44.
But jurors always view an accused’s testimony with skepticism. His own
testimony on the same subject carries little force on its own and does not render the
error harmless, because his “credibility may have been much reduced, absent the
corroborative effect of the excluded” proof. United States v. Dietrich, 865 F.2d 17,
21-22 (2d Cir. 1988) (reversing erroneous exclusion of defense evidence even

though defendant testified on same subject). That is especially true where, as here,

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the prosecution repeatedly criticized the defendant’s inability to support his
testimony with other evidence. DePetris v. Kuykendall, 239 F.3d 1057, 1062 (9th
Cir. 2001).

Moreover, the district court narrowly limited Bankman-Fried’s testimony to
his contemporaneous belief—not the ultimate truth of FTX’s solvency, or the
ultimate outcome. The latter were relevant to rebut the government’s repeated
arguments that he acted like a crazed gambler with customer funds and that his
claims about solvency were obvious lies.

The government claims Bankman-Fried fails to demonstrate “what [his]
evidence would have been or how it would have helped.” GB44. As to the former,
there would have been ample evidence showing FTX and Alameda were not
insolvent and customers did not lose everything. It would have included, for
example, evidence about value of Anthropic and other investments, as discussed.
It also would have included the material in the Debtors’ bankruptcy filings
showing the valuable assets held by FTX and Alameda.

As to “how it would have helped,” the answer is simple: The jury would
have learned the truth. The government’s theory of guilt was false. Bankman-
Fried didn’t steal everyone’s money, and everyone didn’t lose everything. Despite
the government’s revisionist history and legal sophistry, those are important facts

that matter to humans—in the real world, and in the jury room.

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Il. THE DISTRICT COURT ILLEGALLY BARRED EVIDENCE THAT
BANKMAN-FRIED RELIED ON COUNSEL

The government told the jury Bankman-Fried created inherently fraudulent
corporate policies and practices at FTX and Alameda. The district court again
prevented him from responding with proof counsel had approved those policies.

To defend the lawless rulings, the government relies on the dubious concept of
“inherent authority,” cites inapposite cases, continues to misread Scully, and strains
to rewrite the district court’s spurious reasoning. In reality, the judge excluded the
evidence because he didn’t believe Bankman-Fried. The district court deprived
Bankman-Fried of his right to have the jury determine his credibility and his guilt.

A. — The District Court Lacked Authority To Require Disclosure And
The Preview Hearing

1. The Rules Do Not Authorize Compelling Disclosure

The peculiar proceedings that led to the exclusion started with the district
court’s unfounded disclosure rulings. As the government acknowledges, no
statute, rule, or binding case requires defendants to disclose in advance evidence
that they relied on counsel. Rule 12 specifies a few particular defenses that must
be disclosed before trial, but includes nothing about reliance on counsel, and
expressio unius counsels against adding items to such a carefully crafted list. F.g.,
NLRB vy. SW General Inc., 580 U.S. 288, 301-02 (2017). The government relies on
“inherent authority,” GB56, a dubious and “danger[ous]” concept, Degen v. United

States, 517 U.S. 820, 823 (1996). The government’s lead authority, United States
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v. Bakhtiari, 913 F.2d 1053, 1057 (2d Cir. 1990), did not discuss “inherent
authority” at all, and its second case, United States v. McSherry, 226 F.3d 153, 157
(2d Cir. 2000), only held that courts have inherent authority to supplement existing
rules, not create entirely new ones.

While a few district courts have asserted inherent authority in this regard,
GBS56, many others have held that creating an entirely new provision in Rule 12 is
not a proper exercise of inherent authority, OB43-44. This Court should follow
those better-reasoned cases. Creation of new provisions in Rule 12 is best left to
the Rules Committee.

2. The Deposition-Hearing Was Unauthorized

Even if some pretrial disclosure was authorized, which is dubious, requiring
the defendant to be deposed is not—and violates basic constitutional norms about
criminal trials. See OB44-46. The defense’s detailed disclosure letter (A-664-67)
was more than sufficient to enable the district court to rule on admissibility of the
topics, and any specific questions could have been handled as they arose on the
stand. That is what judges do every day. The pre-testimony deposition was
unnecessary, unprecedented and, once again, unauthorized by any rule, statute, or
prior precedent.

On this point, the government’s authority is thin to nonexistent. It cites

Bakhtiari (GB57-58), where the defendant testified prior to trial to lay a foundation

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for his duress defense. 913 F.2d at 1056. The defendant did not challenge the
hearing itself on appeal—indeed, he may have affirmatively sought it, and there is
no indication the hearing included cross-examination. Bakhtiari is irrelevant. The
government does not cite a single case where a defendant was forced to be deposed
before being allowed to testify that counsel was involved in making some relevant
decision. That’s because there are none.

The government pretends there was “nothing unusual” because “Rule 104
permits cross-examination at a hearing.” GB58. It cites United States v. Jaswal,
where a defendant requested to testify he was not Mirandized before making a
statement. 47 F.3d 539, 543-44 (2d Cir. 1995). That has no bearing here. Rule
104(c)(2) requires courts to hold hearings on preliminary questions if the defendant
“so requests”—as in Jaswal. It is doubtful Rule 104 even applies here, because the
court was not attempting to determine any ancillary preliminary question like
whether a privilege exists. Regardless, Bankman-Fried never requested this
hearing. The judge ordered it sua sponte based on his expansive notions of
inherent authority.

This case illustrates the problem with inherent authority: Once unleashed, it
is boundless. If a defendant can be forced to sit for a deposition before testifying

about counsel’s involvement, why not any other topic or any defense? What is the

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point of specific, narrow rules if courts can just invent new ones the drafters didn’t
include?

The government provides no answer. This Court should require district
courts to adhere to the disclosure requirements in the rules rather than permitting
depositions of the accused not contemplated by the Rules Committee or consistent
with basic principles of fairness in criminal cases. Courts should “encourage
people to take the stand’—not create roadblocks that will deter defendants from
testifying, particularly because “it is...useful and helpful in many white collar
cases to hear testimony from both sides.” United States v. Stewart, 15 Cr. 287
(S.D.N.Y.). (Rakoff, J.), ECF 367, at 4.

3. Bankman-Fried Preserved His Objection

Contrary to the government’s argument (GB51, 57), Bankman-Fried made
clear from the outset that he would present evidence of counsel’s involvement in
adopting corporate policies. A-401. He contended such evidence was relevant to
good faith and necessary to respond to the government’s arguments about those
policies. Dkt.246 at 29-31. He repeatedly said no special advance disclosures
were required. A-554, 569-70. The court disagreed and required disclosure. SPA-
70-71, A-400.

Thus, to comply with the court’s ruling, Bankman-Fried provided further

disclosure. A-644. But the court ruled it insufficient and compelled a hearing. A-

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882. Bankman-Fried had no choice—if he did not testify at the hearing, the district
court would not consider admitting his proffered evidence. Further objection
would have been futile given the district court’s repeated rulings against him.
Indeed, even when he repeatedly objected that cross-examination was going far
beyond the scope of the ostensible purpose of the hearing, those objections were
overruled. OB41.

B. There Was No Legal Basis To Prevent Bankman-Fried From
Rebutting Key Government Arguments

1. The district court’s stated rationale for excluding Bankman-Fried’s
testimony rested on three legally indefensible pillars: First, that it could exclude
testimony in the “public interest’; second, if Bankman-Fried could not carry the
burden necessary to receive an instruction, he could not present his evidence at all;
and third, the evidence was misleading because jurors can’t be trusted to
understand what lawyers do.

The court’s principal basis for exclusion was its purported concerns about
“potential harm to the public interest” from the testimony. A-987-99. This was
saying the quiet part out loud—the judge assumed Bankman-Fried was guilty,
didn’t believe his testimony, and wanted to make sure the jury didn’t hear it. The
government knows “public interest” isn’t a proper basis to exclude a defendant’s
own testimony, so it calls the phrase “shorthand” for Rule 403’s actual

considerations. GB53. But the district court’s actual words defy that fiction.

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The Rule 403 factors favoring exclusion involve harms to the parties and the
jury’s factfinding process, not vague harms to “the public interest.” Unfair
prejudice, for example, refers to the tendency of evidence to lure the jury into
reasoning based on an “improper purpose” such as “nullification.” Jn re United
States, 945 F.3d 616, 630 (2d Cir. 2019); see Fed. R. 403 adv. comm. notes. In
this case, however, there was nothing like nullification in play—the judge’s
apparent concern was that the jury might believe Bankman-Fried.

The government’s other attempt to defend this rationale fares no better. It
states: “There is nothing unusual about district courts excluding evidence that tends
to suggest lawyers blessed the charged conduct, absent some evidence that the
lawyers actually did so.” GB50. This ignores the obvious: a defendant’s own
testimony is “some evidence.” And Bankman-Fried would have testified that
lawyers blessed certain business practices at FTX that prosecutors claimed he had
nefariously invented on his own.

2. Like the district court, the government conflates the requirements for
an advice-of-counsel instruction with the requirements for re/evance. The
government suggests counsel’s involvement is not relevant unless the defendant
“fully and honestly laid all the facts before his counsel.” GB50. But as support, it
again cites the portion of Scully dealing with an advice-of-counsel instruction.

GBS51 (citing United States v. Scully, 877 F.3d 464, 476 (2d Cir. 2017)). The

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whole point of Scu//y is that a defendant is entitled to present evidence and
testimony of counsel’s involvement, 877 F.3d at 473-75, even if he does not make
a showing sufficient for an instruction, id. at 476-77. The court ignored that
distinction below, and the government ignores it again now.

Once again, the government’s only authority is a few district court orders.
For instance, SEC v. Tourre, 950 F. Supp. 2d 666, 683-84 (S.D.N.Y. 2013),
predates Scully, and repeats the district court’s conceptual mistake—conflating
admissibility with entitlement to an instruction on an affirmative defense. See
OB47-48. And SEC vy. Lek Securities Corp., 2019 WL 5703944, at *4-5 (S.D.NLY.
Nov. 5, 2019), is inapposite. It excluded evidence because the defendant sought to
raise an advice-of-counsel defense but refused to waive the attorney-client
privilege.

3. The concern that defense evidence was “misleading” is equally
baseless. Like the trial judge, the government assumes that because lawyers didn’t
know all the facts, evidence of their involvement would have somehow confused
the jury. GB52-53. But that goes to weight. It involves a matter of common
sense—precisely what juries are supposed to resolve. The government could have
responded by arguing fo the jury that those lawyers didn’t have all the facts. Jurors
understand that professional advisors—lawyers, doctors, accountants—need facts

to give advice, and are perfectly capable of appropriately weighing this evidence.

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The argument that the evidence “risked wrongly implying that Bankman-
Fried’s conduct was lawful simply because lawyers were involved,” GB52, targets
a straw man. Bankman-Fried wasn’t claiming he was innocent “simply because
lawyers were involved.” The point was that the proffered evidence, combined with
other defense evidence, shed light on his good faith and rebutted the government’s
arguments regarding those policies.

C. The Errors Require A New Trial

The excluded evidence was critical to the defense. In each instance, it
helped rebut the government’s argument that Bankman-Fried acted alone and
possessed criminal intent.

For example, the government repeatedly argued the North Dimension bank
accounts were shady and set up so Bankman-Fried could pilfer customer funds. In
summation, it argued that “a lot of those deposits came through this entity that
we ve heard some about called North Dimension. The defendant was involved in
opening that account. He signed the application. That is his name night there, as
the principal officer”; and “once FTX customers’ deposits landed in” the North
Dimension account, “they were used as a source of free cash.” A-1082. The
government went on to argue that Bankman-Fried’s exploitation of funds in the
North Dimension account “just tells you everything, right?” /d.; see also Tr.2939-

40; A-1095.

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To rebut that argument, it was essential for the defense to tell the jury the
truth—that FTX’s chief legal officer and outside counsel advised creating the
North Dimension entity and were involved in setting up the bank account. A-665.
That evidence alone would not have shown “Bankman-Fried’s conduct was lawful
simply because lawyers were involved.” GB52. But it was nonetheless re/evant
and important to respond to the government’s argument that North Dimension was
inherently fraudulent—and was solely Bankman-Fried’s doing. The same is true
of the other policies.

The government claims none of this matters, because lawyers did not bless
“the misappropriation of FTX customer funds.” GB54. That is question-begging.
The government told the jury these corporate policies were inherently fraudulent
and proved the handling of customer funds was fraudulent rather than legitimate.
The government admitted evidence about these policies in the first instance, and
Bankman-Fried was entitled to respond.

Finally, the government maintains the deposition procedure was harmless
because it benefited the defense by giving Bankman-Fried a chance to practice his
testimony. GB58-59. If that were true, one would expect criminal defendants
around the country to clamor for depositions before taking the stand. Not
surprisingly to anyone who has practiced law, that never happens. Moreover, as

the amicus brief of the neurodiversity experts explains, the prejudice here was

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particularly pronounced because of Bankman-Fried’s diagnosed conditions of
autism spectrum disorder and ADHD. ND23-27.
% % %
The district court illegally forced a deposition and then excluded the defense
evidence anyway. That allowed the government—once again—to offer a one-
sided, and false, picture of the facts, and deprived Bankman-Fried of a fair trial.

I. THE SCIENTER INSTRUCTIONS ERRONEOUSLY LOWERED
THE GOVERNMENT’S BURDEN

A. — The Instructions On Temporary Deprivation Misstated The Law

1. Although jury instructions are reviewed as a whole, GB16, it is the
government, not Bankman-Fried, that analyzes “isolated statements taken from the
charge,” id, and then tries to show each isolated statement has been approved in
some context, GB20-28. That ignores the fundamental problem with the loss
instructions: Taken as a whole and read together, they failed to require proof that
loss was an object of the alleged fraud. Instead, the instructions said no loss
(actual or intended) was required because mere use of another’s money or property
suffices.

Although the instructions did require proof that “the defendant contemplated
some actual harm or injury to the victim,” GB18, they wrongly defined what types
of “harm or injury” count for wire fraud. The court told the jury merely depriving
someone of the night to “use” their money or property was adequate harm. A-

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1125-26. The no-ultimate-harm instruction compounded the error by stating that
depriving someone of money “even if only for a period of time” is itself a fully
sufficient “harm or injury.” A-1133. Reading the instructions as a whole is
precisely what makes the error manifest.

2. The instructions were wrong under Kelly and Ciminelli. To state that
a temporary deprivation of the ability to use one’s property is sufficient for fraud
violates Cimine/li—tt 1s just another way of reframing the invalid right-to-control
doctrine. Males and the other pre-Ciminelli cases the government cites, GB24, no
longer accurately state the law. See Point I, supra.

The instructions were particularly flawed because this case involved a
margin lending platform where customers allowed FTX to lend their deposits to
others. In that context, it makes no sense to say temporarily depriving a customer
of her ability to use her assets is a “harm or injury.” The very nature of lending—
whether by customers or lenders—involves giving up the right to use assets for a
time.

The government’s only response is that some customers “did not opt in to
margin trading.” GB29. That sounds like a tacit concession that the instructions
were faulty as to 80% of the assets on FTX. As to lenders, the government claims
“fraudulently induc[ing]” the loans is the essence of the offense. GB29. But that

conflates deception with loss. Kelly, Ciminelli, and many of this Court’s

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precedents are clear that deception alone is insufficient. See Kelly v. United States,
590 U.S. 391, 393 (2020); OB28-31. Wire fraud requires both deception and
contemplated harm to a property interest cognizable under the statute. A
temporary deprivation of the ability to use property is not a cognizable harm.

3. The government argues these claims were forfeited. GB21-23. But
the defense proposed alternate language and repeatedly objected to the no-
ultimate-harm instruction, and it was clear—especially given the judge’s earlier
rulings—further protest would be futile. OB55-56. Where, as here, the district
court has rejected legal arguments, further specificity is not required to preserve a
claim. United States v. Dinome, 86 F.3d 277, 282 (2d Cir. 1996).

The government’s cases (GB23) do not hold otherwise. In United States v.
Ganim, the defendant objected to different instructions at trial and on appeal, and
the language he attacked on appeal was included in his own proposed instructions.
510 F.3d 134, 151 & n.11 (2d Cir. 2007). Similarly, United States v. Vasquez, 267
F.3d 79, 87 (2d Cir. 2001), involved objections to different instructions at trial and
on appeal.

Here, by contrast, Bankman-Fried “properly presented” the same general
claim as to intended loss below. Yee v. City of Escondido, 503 U.S. 519, 534-35
(1992). He repeatedly and consistently objected to the no-ultimate-harm

instruction. He objected at the charge conference, A-1073; A-658-60, and long

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before that, he objected to the same legal principle in his motion to dismiss, OB23-
24. That was plainly “sufficient to direct the district court to his contention” and
preserve his claim. United States v. Masotto, 73 F.3d 1233, 1238 (2d Cir. 1996).
Bankman-Fried is “not limited to the precise arguments [he] made below” in
support of his claim about what suffices for loss. Yee, 503 U.S. at 534. The
district court considered and rejected his claim.

4, Nor was the error harmless. Like the related evidentiary error, it went
to the heart of the defense: that he lacked the intent to defraud because he
believed—teasonably and correctly—that FTX and Alameda had sufficient assets
to make everyone whole, given time. The district court gutted that defense, first by
excluding evidence supporting his defense, and then by instructing the jury that
temporary use of customer deposits was sufficient to convict, effectively directing
a guilty verdict.

B. The “Willfulness” And “Good Faith” Instructions Misstated The
Law

The government’s claim that securities and commodities fraud require only
“a wrongful purpose” rather than knowledge of “unlawfulness,’” GB30-31, defies
precedent.

1. The government’s preservation argument (GB30, 34) again fails.
Magic words are not required, and “the substance of the claim now being raised on

appeal was squarely raised below.” United States v. Hassan, 578 F.3d 108, 129
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(2d Cir. 2008). Bankman-Fried requested instructions that “willfully” requires
proof the defendant knew his conduct was “unlawful,” A-611, A-625, A-629, and
the parties “briefed the issue... with respect to each of the[] crimes,” Tr.2859; see
also A-660. At the charge conference, the government argued that a// the fraud
charges were “going to use the same definition of willfully, [and] there is not a
requirement that the defendant act with knowledge that one’s conduct is unlawful”
but only “with [a] wrongful purpose.” Tr.2859. Bankman-Fried consented “[w]ith
respect to the wire fraud counts” only, but objected to the “wrongful purpose”
formulation for the other fraud counts. /d.; A-1072-74.

2. United States v. Bryan (GB31) held that “to establish a ‘willful’
violation of a statute, ‘the Government must prove that the defendant acted with
knowledge that his conduct was unlawful.’” 524 U.S. 184, 191-92 (1998) (quoting
Ratzlaf v. United States, 510 U.S. 135, 137 (1994)). The government misleadingly
suggests Bryan approved “bad purpose” language (GB31), but the instruction
Bryan endorsed required “bad purpose fo disobey or to disregard the law,” id. at
190 (emphasis added). And the Court approved an instruction stating “willfulness”
requires “knowledge that the conduct is unlawful,” id. at 196—the exact
formulation rejected here.

3. The government’s spin on this Court’s precedent is equally unsound.

It erroneously contends United States v. Kosinski “relied on Kaiser in rejecting the

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argument that the jury should have been required to find a specific intent to violate
the securities laws.” GB32. But in rejecting that even stricter standard, Kosinski
reaffirmed Bryan’s “generally applicable” definition of “willfulness,” reiterating
the requirement of “knowledge that the conduct 1s unlawful.” 976 F.3d 135, 154 &
n.14 (2d Cir. 2020).

As for United States v. Petit, 2022 WL 3581648 (2d Cir. Aug. 22, 2022), in
precedential opinions the Court has since thrice reiterated that willfulness requires
knowledge of unlawfulness. See United States ex rel. Hart v. McKesson Corp., 96
F 4th 145, 157 (2d Cir. 2024) ([T]he defendant must act “with knowledge that his
conduct was unlawful.’’’) (quoting United States v. Kukushkin, 61 F 4th 327, 332
(2d Cir. 2023)); accord United States v. Zheng, 113 F Ath 280, 296 n.5 (2d Cir.
2024).

4, The good faith instructions likewise erroneously omitted that a
defendant’s good faith belief that he was not violating the law negates scienter.
OB59-60. The instructions did not “adequately convey,” GB33, the good faith
defense, because they did nothing to countermand the incorrect willfulness
instructions.

IV. THE DISTRICT COURT ERRONEOUSLY REFUSED TO ORDER
DISCOVERY FROM THE FTX DEBTORS AND HOLD A HEARING

The Debtors and S&C took control of FTX, forced it into bankruptcy

proceedings, billed the Estate hundreds of millions of dollars, and repeatedly
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condemned Bankman-Fried as a “villain.” OB65-66. In stark contrast to the
independent counsel retained in notable bankruptcies like Enron and Worldcom,
S&C had multiple conflicts of interest immediately flagged by the U.S. Trustee
and four U.S. Senators.*? Most troublingly, S&C had done “significant
prebankruptcy work for FTX,” and likely knew “FTX was commingling customer

4 But instead of recusing itself, S&C suddenly claimed this commingling

assets.
was a crime after the November 2022 run on deposits.” S&C then affirmatively
reached out to prosecutors—without notifying Bankman-Fried, its then-client—to
invite this prosecution. OB67; Bankr.Dkt.510 at 5. S&C’s many subsequent
communications with prosecutors even included a presentation about whether an
independent examiner, which would investigate S&C’s own role in FTX’s
collapse, should be appointed.°

The government nevertheless charged ahead. It weaponized the Debtors and
their conflicted counsel to indict Bankman-Fried and secure a conviction in record

time, all while using them to conceal exculpatory information from the defense. If

the Court does not find the Debtors an arm of the prosecution in this extraordinary

3 See BAB7-14; Jonathan Lipson & David Skeel, FTX’d: Conflicting Public and
Private Interests in Chapter 11,77 Stan. L. Rev. __, Parts I1V.B-C (forthcoming
2025); “U.S. Senators Question Independence of FTX Bankruptcy Law Firm,”
Wall Street Journal (Jan. 10, 2023).

4 Lipson & Skeel, supra, at n.24-26 and accompanying text.

> Id.

° See, e.g., Bankr.Dkt.721 at 273, 419, 420.

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situation, the government will get a blank check in every white-collar case to evade
its Brady obligations by delegating investigative responsibilities to private parties.

The government’s defense of its conduct and the district court’s rulings is
disingenuous. The Debtors’ bankruptcy filings and S&C’s timesheets refute the
government’s false claims that the Debtors had “no involvement in any significant
aspect” of its work, GB65, and that this was “nothing more than the usual
cooperation of corporate counsel,’ GB68. No controlling precedent supports the
government’s contention that the prosecution team can only include public
officials. And the government ignores the serious constitutional problems it
created by asking S&C—an entity with pervasive conflicts of interest—to play an
active role in the investigation and prosecution of its own former client.

1. The government disparages Bankman-Fried’s arguments as “absurd”
and “wild,” GB67 & n.17, but the government’s assertions are flatly contradicted
by the words in the Debtors’ own bankruptcy filings. Consider first the
extraordinary volume and timing of the Debtors’ efforts to spur the prosecution,
which are so unlike the more methodical approach taken in Enron and Worldcom.
BAB13-16. For instance, in just the 2’4 weeks following the petition, there were

22 time entries reflecting S&C communications with SDNY prosecutors.’

7 See Lipson & Skeel, at n.350 and accompanying text.
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Likewise, the government denies directing S&C to ask any questions in its
witness interviews, GB66, but the timesheets refute its denial. They show S&C
posed “questions for former FTX personnel” spoon-fed to it by “SDNY,”
Bankr.Dkt.818-2 at 521, and later provided SDNY “interview readouts,” id. at 529.
It is one thing for a company to share findings of an internal investigation with
prosecutors. It is quite another for the company to conduct that investigation at the
behest of prosecutors, who, instead of conducting their own interviews, direct the
company’s interviews and decisions about what evidence to collect. See United
States v. Connolly, 2019 WL 2120523, at *11 (S.D.N.Y. May 2, 2019)
(investigation “fairly attributable” to government in part because “interview...was
conducted at [government’s] behest’).

The government also denies the Debtors “recommended new areas of
inquiry” or “vetted prosecution theories,” GB66, but the evidence shows the
opposite. While contemplating a superseder, the government asked S&C to give
“Ta] presentation... with respect to whether [the Debtor entities] were acting as an
unlicensed money transmission business.” A-210. S&C agreed and provided “a
zip file containing documents relating” to the request. A-207. And the
government’s claim that S&C’s email about a “$45 million ‘hole’” responded to its

own question, GB66-67, is refuted by the email itself. The email indicates S&C

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reached out on its own initiative and documents S&C’s own prior overtures to
prosecutors on this issue. OB69; A-212.

The government’s denial of the Debtors’ involvement in its bail strategy is
also refuted by clear evidence showing S&C strategized with prosecutors on bail
from the instant the Magistrate Judge set release conditions. The very next day,
S&C billed time to “consider potential bail restrictions for S. Bankman-Fried,”
Bankr. Dkt.721-2 at 63, including a “strategy for amendment to [the] bail package”
and a “call with [AUSA] Roos...re: amendment to [the] bail package,” id. at 510.
S&C later had another “call with SDNY...re: bail conditions,” when other S&C
lawyers billed time regarding “conversations with SDNY re: bail conditions” and
“potential bail revocation.” /d. at 521. Similar interactions led to the
government’s request to remand Bankman-Fried. OB70. The government says the
entries don’t mean what they say, but its tortured interpretation (GB67-68 n.17),
not Bankman-Fried’s, reflects nonsensical “speculation.”

If S&C really had “no role in strategy,” GB66, or “involvement in any
significant aspect of the [case],” GB65, why did S&C lawyers bill time to
strategize with prosecutors about issues as important as Bankman-Fried’s pretrial
detention? If this type of conduct is the “routine” way the government deals with
corporate cooperators represented by former colleagues—as it claims, GB68—then

it is time for the Court to adopt a clearer standard sufficient “to protect

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[dJjefendants’ rights.” United States v. Hunter, 32 F.4th 22, 38 & n.70 (2d Cir.
2022).8

The government dismisses the concerns this Court expressed in Hunter, but
those concerns are particularly acute here, because the government relied on S&C,
which it knew had multiple conflicts of interest and “played a pivotal and
problematic role in inducing [FT X’s] bankruptcy.” BAB8. The government
simply ignores these pervasive conflicts, and worse, suggests it will continue its
questionable tactics in future cases. The Court should not endorse such
problematic “outsourc[ing],” which enables the government to insulate itself from
Brady material by hiding behind private parties like the Debtors. Connolly, 2019
WL 2120523, *12; cf Gen. Elec. Co. v. N.Y. Dep’t of Labor, 936 F.2d 1448, 1454-
55 (2d Cir. 1991) (discussing unconstitutional delegations to private parties).

2. The government also misreads the caselaw, and its proposed rule
would invite the government to do exactly what it did here—deliberately avoid
obtaining exculpatory material to hamper the defense.

Contrary to the government’s suggestion (GB63-65), this Court has never

held that cooperators can never be deemed members of the prosecution team. The

® S&C’s interactions with prosecutors also implicated what position another U.S.
agency—the Trustee—would take on an Examiner, and how appointment of an
Examiner might impact the criminal case. This only underscores the extraordinary
nature of the Debtors’ involvement in the prosecution, and how far beyond
“normal” cooperation it went.

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only binding decision the government cites, United States v. Bradley, 105 F 4th 26,
35 (2d Cir. 2024), involved routine cooperation from witnesses who were merely
subpoenaed and interviewed. The extensive collaboration between the Debtors and
the government here was materially different. It proceeded on the assumption that
the Debtors were willing to do—and did—“whatever the Government
request[ed],” including providing “full access to the information.” A-189-90.

The dispositive question is not whether the government knows about or
possesses the information at issue. The government ““‘has a duty to learn of any
favorable evidence known to...others acting on the government’s behalf.’” United
States v. Avellino, 136 F.3d 249, 255 (2d Cir. 1998) (quoting Kyles v. Whitley, 514
U.S. 419, 437 (1995)). Here, it deliberately avoided learning the information, even
though the Debtors collected and “review[ed] documents,” “interview[ed]
witnesses,” and “gather[ed] facts” at the government’s request to distill the
evidence and “develop prosecutorial strategy.” United States v. Stewart, 433 F.3d
273, 299 (2d Cir. 2006). The extent of the collaboration was extreme, and
“prosecutors enjoyed extraordinary levels of real-time support by the Debtors’
estate.” BAB6-10, 13-16.

3. And in United States v. Josleyn (cited GB66-67) the First Circuit

indicated the outcome would have been different had the government “engineered”

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that result or remained “willfully blind to exculpatory evidence.” 206 F.3d 144,
153 & n.8 (1st Cir. 2000). That is exactly what happened here.

The government opposed Bankman-Fried’s discovery motions, intervened to
quash his subpoenas, and refused to subpoena the information itself. It hides
behind privilege assertions, GB60-61, but knew the Debtors had “agreed to waive
privilege” before and pressed for such waivers when it found them helpful to its
case, A-207. By contrast, prosecutors chose not to seek privilege waivers where
the information might have assisted Bankman-Fried.

4, Finally, the conduct was not harmless. The Debtors did not
“produce[] the FTX...codebase history,” GB61, 69, for example. The government
stated it had “been told by the FTX debtors that they did provide access to
the...code base history,” Dkt.249 at 13, but the defense never “received the code
base history,” id. at 9. The codebase history used at trial was limited to 21 pages
of screenshots of code base history from Wang’s laptop, not the full codebase
history, which was necessary to rebut the government’s false allegation that
Bankman-Fried “secretly introduced special features into FTX’s computer code” to
grant Alameda privileges. GB6.

This is just one example. Without a hearing, there is no way to know the
full extent of potentially exculpatory information the government avoided

obtaining that might have assisted Bankman-Fried’s defense.

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V. THE FORFEITURE MONEY JUDGMENT WAS UNLAWFUL

Prior to his indictment Bankman-Fried turned over control of FTX and all its
assets to the FTX Debtors, who are now making all creditors whole. The
government nevertheless sought an unlawful, duplicative $11 billion money
judgment against Bankman-Fried, who has no remaining assets to forfeit. The
forfeiture order is indefensible.

A. The Statutes Do Not Authorize Jn Personam Money Judgments

The government identifies no textual basis in the statutes for the unlawful
money judgment imposed here.

United States v. Awad, 598 F.3d 76 (2d Cir. 2010), involved a different
statute, 21 U.S.C. §853(a)(1), which should be interpreted “liberally,” id. §853(0).
Awad also preceded Honeycutt v. United States, which held “[t]he plain text and
structure” of Congress’s chosen forfeiture scheme leaves no room to “read...into
the statute” “an end run” not specifically prescribed. 581 U.S. 443, 452-53 (2017).

Rule 32.2’s “money judgment” language (GB71) is irrelevant. The Rules
Committee was merely prescribing procedure—not a new government remedy—
and “t[ook] no position on the correctness of...rulings” that “ha[d] approved use of
money judgment forfeitures.” Fed. R. Crim. P. 32.2, adv. comm. notes 2000. And
United States v. Nejad acknowledged there was no “textual basis for imposing” a

money judgment. 933 F.3d 1162, 1164-65 (9th Cir. 2019).

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Indeed, “Congress provided just one way for the Government to recoup
substitute property when [it claims] the tainted property itself is unavailable—the
procedures outlined in § 853(p).” Honeycutt, 581 U.S. at 453. Those procedures
require proof the property is unavailable “as a result of any act or omission of the
defendant.” 21 U.S.C. §853(p)(1). That isn’t what happened here. The FTX
bankruptcy proceedings will ultimately render the money judgment entirely
duplicative. Creditors will be made whole through the bankruptcy for the same
reason Bankman-Fried cannot personally return the assets: they are available but
remain in FTX’s custody.

If the government—and district court—had followed §853(p)(1)’s mandated
procedures, the forfeiture order would have been markedly different, and orders of
magnitude lower. As one obvious example, the government credits itself for
seeking “forfeiture only for fraudulently induced loans that were not repaid and
were ‘outstanding at the time of bankruptcy,’” GB74-75 (quoting PSR at 50), but

billions of assets remained at FTX and all lenders will be paid back in full”?

” The money judgment was not “independently warranted as a measure of the
property involved in the money laundering offense.” GB75. Section 853(p)’s
substitute asset procedures apply to such forfeiture as well. See 18 U.S.C.
§982(b)(2) (referencing 21 U.S.C. §853(p)).

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B. —_ Section 981(a)(1)(C) Does Not Authorize Forfeiting All Investor
And Lender Money

Contrary to the government’s argument, GB73-74, United States v.
Contorinis did not limit its holding that §981(a)(2)(B) defines “‘proceeds’ in cases
involving fraud in the purchase or sale of securities,” 692 F.3d 136, 145 n.3 (2d
Cir. 2012), to insider trading. The dispositive question is whether the crime
involves inherently “illegal goods,” or legal goods sold in an illegal “manner’”—
like the FTX securities.

If §981(a)(2)(B)’s definition of “proceeds” is correctly applied, then only the
“difference between the stock’s inflated value, and what it would have sold for
absent the fraud” is subject to forfeiture. OB81. The government ignores
Bankman-Fried’s caselaw and cites no precedent to the contrary.!”

The government also ignores that lenders will be made whole. Section
981(a)(2)(C) provides “the court shall allow...a deduction from the forfeiture to
the extent that the loan was repaid, or the debt was satisfied,” and §981(a)(1)(C)
thus does not authorize the forfeiture for the lender counts.

C. The Forfeiture Was Unconstitutional

“Whether a forfeiture would destroy a defendant’s livelihood is a component

of the proportionality analysis.” United States v. Viloski, 814 F.3d 104, 111-12 (2d

'0 United States v. Hsu, 669 F.3d 112 (2d Cir. 2012), and United States v. Byors,
586 F.3d 222 (2d Cir. 2009), see GB75, did not involve forfeiture.

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Cir. 2016). The government denies the order is unconstitutionally excessive,
arguing “the Constitution does not immunize Bankman-Fried...solely because he
misappropriated far more than he can likely repay.” GB77. But it’s not a question
of what is likely. There is zero chance Bankman-Fried—who already turned over
all his assets—could ever repay $11,020,000,000, or anything close.

Nor can the government seriously contend “the forfeiture order was
precisely calibrated to the harm caused,” or “simply reflected the actual losses to
victims.” GB77. As explained, the Debtors will repay 118% of customer assets.

The government’s cases, including those cited in United States v. Patterson,
2022 WL 17825627 (2d Cir. Dec. 21, 2022), GB77, are not remotely comparable.
They involve the low millions, not billions. See United States v. Bonventre, 646 F.
App’x 73, 91-92 (2d Cir. 2016) ($19 million); United States v. Elfgeeh, 515 F.3d
100, 139 (2d Cir. 2008) ($22 million); United States v. Castello, 611 F.3d 116,
121-24 (2d Cir. 2010) ($12 million). The forfeiture here is several orders of
magnitude larger, and the government cites no precedent even remotely close.

VI. THE CASE SHOULD BE REASSIGNED

A fair retrial requires a new judge. Remanding without reassignment would
invite the same one-sided proceedings that tainted the first trial.
Contrary to the government’s claim, GB78, “[rJeassigning a case...1s not

unusual in this Circuit,” Ligon v. City of New York, 736 F.3d 118, 128-29 & n.29

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(2d Cir. 2013) (collecting cases). Reassignment “simply...ensure[s] that cases are
decided by judges without even an appearance of partiality,” id., and is warranted
even where the record reveals no actual impropriety or bias. In United States v.
Quattrone, for example, the Court ordered reassignment because “certain
comments could be viewed as rising beyond mere impatience or annoyance,”
despite no “evidence that the trial judge made any inappropriate statements leading
[the Court] to seriously doubt his impartiality.” 441 F.3d 153, 192-93 (2d Cir.
2006); see also United States v. DeMott, 513 F.3d 55, 59 (2d Cir. 2008) (“We
cannot find on this record that Judge Platt 1s personally biased against Day; but an
objective observer might nonetheless question his impartiality.”). That standard is
satisfied here.

The government’s precedent is inapposite. /n re Aguinda, see GB79,
concermed a mandamus petition challenging the denial of a recusal motion. 241
F.3d 194, 200 (2d Cir. 2001). The court expressly distinguished “petitions seeking
disqualification,” which “must satisfy an ‘exacting standard,’” from “ordinary
appeals based on allegations of a judge’s partiality,” like this one. /d. at 202.
United States v. Schwartz, 535 F.2d 160 (2d Cir. 1976), see GB78, similarly did
not concern reassignment.

Moreover, even if media portrayals of “partiality...may be, at times,

unreasonable,” /n re Aguinda, 241 F.3d at 202, the media portrayals of Judge

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Kaplan’s partiality were accurate, as the extensive quotations from the record in
the opening brief demonstrate. OB84-87. The record clearly demonstrates more
than mere “[a]dverse rulings, standing alone,” Schwartz, 535 F.2d at 165.

The government of course can cherry pick times when Judge Kaplan
curtailed its trial presentation, but his comments were overwhelmingly one-sided
against Bankman-Fried. The government’s examples pale in comparison to the
numerous times the judge impugned the defense in front of the jury. When Judge
Kaplan sought to hasten government questioning, for example, he remarked “[t]his
is getting to be time to wrap it up.” Tr.2163 (cited GB78). His comments to
defense counsel were far more disparaging. See, e.g., OB84 (“Could we get to the
point.”); OB17. The government’s other examples involved statements outside the
jury’s presence. See Tr.1127-29, 1823-24. And the government has no response to
the other instances of partiality the court expressed during Bankman-Fried’s bail

hearing, the charging conference, and sentencing. OB85-87.

CONCLUSION

For the foregoing reasons, the judgment should be vacated and the case

remanded to another judge for a new trial, or at minimum, an evidentiary hearing.

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Dated: New York, New York
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CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME
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1. The undersigned counsel of record for Defendant-Appellant Samuel
Bankman-Fried certifies pursuant to Federal Rule of Appellate Procedure 32(g)
and Local Rule 32.1 that the foregoing brief contains 9,464 words, excluding the
parts of the brief exempted by Federal Rule of Appellate Procedure 32(f),
according to the Word Count feature of Microsoft Word 2025, and is therefore in
compliance with this Court’s Order dated December 16, 2024, permitting
Bankman-Fried to file a reply brief of up to 9,500 words.

2. This brief complies with the typeface requirements of Fed. R. App. P.
32(a)(5) and the type style requirements of Fed. R. App. P. 32(a)(6) because this
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/s/Alexandra A.E. Shapiro
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